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 UNITED STATES DISTRICT COURT​
 FOR THE DISTRICT OF RHODE ISLAND

 Joshua Mello and Rachel Ware, Plaintiffs​
 V.                         Case Nos.: 1:2023-cv-00479 & 1:2023-cv-00480​
 Edward Arruda and John Rocchio, Defendants

 PLAINTIFF’S MOTION FOR RECONSIDERATION UNDER FED. R. CIV. P. 59(e)

 INTRODUCTION

 Plaintiff’s Joshua Mello and Rachel Ware, respectfully moves this Honorable Court to reconsider
 its ruling pursuant to Federal Rule of Civil Procedure 59(e) on the grounds of (1) newly
 discovered evidence, (2) unfairness in the hearing process, (3) the court’s failure to consider
 material legal points, and (4) legal and factual errors that warrant reconsideration.

 The evidence discovered in the course of litigation, including police department records, internal
 emails, document inconsistencies, and forensic analysis, directly substantiates the claims of
 police misconduct, document tampering, and evidence spoliation. The court’s consolidation of
 motions unfairly burdened Plaintiffs, preventing a full and fair opportunity to present arguments.
 Additionally, the court overlooked material legal points related to due process violations, fraud
 on the court, and discovery misconduct, which require reconsideration to prevent manifest
 injustice.

 LEGAL STANDARD

 A motion for reconsideration under Fed. R. Civ. P. 59(e) allows the court to alter or amend its
 judgment when:

    1.​ There is newly discovered evidence that was previously unavailable.
    2.​ The court committed a clear legal or factual error.
    3.​ There has been an intervening change in the controlling law.
    4.​ Reconsideration is necessary to prevent manifest injustice.

 See Templet v. HydroChem Inc., 367 F.3d 473, 478 (5th Cir. 2004); Schultz v. Ashcroft, 174 F.
 Supp. 2d 1277, 1284 (D. Kan. 2001).

 Here, reconsideration is appropriate because the newly discovered evidence was unavailable
 before the court’s ruling, and its omission materially affects the case outcome. Additionally,
 factual and legal errors—including the failure to address critical evidence and misapplication of
 case law—require correction to prevent an unjust result.
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 NEWLY DISCOVERED EVIDENCE

 Plaintiffs have obtained new evidence that directly supports claims of police misconduct,
 document falsification that is the PDF in question containing 7 hybrid documents, and due
 process violations. On January 29, 2025 Plaintiff Ware received a response to an APRA request
 from the Cranston Police Department which was a PDF of a blank property form. In addition to
 that, on February 3rd, Plaintiff Ware was dropping off an official court document to the Cranston
 Police Records Department. While she was there Captain Robertson, head of the records
 department, learned she was there and came out to speak with her. He provided new information
 about the property form. This information justifies reconsideration under Rule 59(e).

 A. Captain Robertson’s Admission

 On February 3, 2025, at the Cranston Police Station, Captain Robertson confirmed in an
 impromptu conversation that:

    ●​ The official Cranston Police Department Property Form contains a faded police crest in
       the middle of the document.
    ●​ Property forms are handwritten, and officers do not type directly onto the form.
    ●​ Typed information is limited to labels, which are placed on the evidence bag and property
       form to match them together with barcodes.
    ●​ The property forms are carbon forms in which information is transferred when written on
       between pages.

 These statements directly contradict the property form produced in discovery as Exhibit A
 (Mello) PDF, which:

    1.​ Lacks the police crest, despite Robertson’s confirmation that it should be present. (See
        Exhibit C)
    2.​ Appears to be typed directly onto the form. Signatures are handwritten.
    3.​ Does not contain a typed label matching an evidence bag with a barcode.

 These discrepancies strongly suggest that the document did not adhere to the established
 standards prior to its submission in discovery, raising questions about its authenticity.

 Multiple Forensic Analysis Confirms Digital Tampering of Police Records

 A detailed forensic examination of the Cranston Police Department Property Form revealed
 strong evidence of digital manipulation, including:

 1. Missing Police Crest – Confirmed by Spectral Analysis
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    ●​ The police crest is missing, even though Captain Robertson confirmed that it should be
       faint but present. (See Exhibit C)
    ●​ Spectral analysis reveals inconsistent noise distribution in areas where the crest should
       appear, suggesting digital removal.

 2. Document Formatting Violations – Confirmed by Error Level Analysis (ELA)

    ●​ The original form should be handwritten, but ELA shows digital alterations inconsistent
       with a scanned, handwritten document.
    ●​ The text exhibits unnatural compression artifacts, suggesting digital tampering.

 3. Suspicious Metadata and Hybrid PDF Structure

    ●​ The PDF document is a hybrid—it was scanned but then had digital text added later,
       which is not standard for official Cranston police property forms.
    ●​ The presence of inconsistent text formatting and spacing further indicates document
       manipulation.

 Overview of Forensic Findings

 Plaintiffs analysis focused on two key techniques—Spectral Analysis and Error Level Analysis
 (ELA)—to assess potential digital manipulation in the documents.




 Spectral Analysis (See Exhibit A)

 The spectral analysis compares two side-by-side frequency analyses:
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    ●​ Cranston Property Form (left) versus Exhibit A Mello (right)
    ●​ Both images exhibit a central cross-pattern representing the document’s frequency
       distribution, which should normally be consistent in an unaltered document.
    ●​ Key Observations in Exhibit A:
           ○​ A slightly uneven distribution around the central cross.
           ○​ A less uniform noise pattern.

 These deviations suggest that the Exhibit A document has undergone digital manipulation.

 Error Level Analysis (ELA) (See Exhibit B)

 ELA examines compression artifacts to reveal inconsistencies:




    ●​ Cranston Property Form (left) shows uniform error levels, especially in the header and
       footer areas, indicating consistent compression typical of an authentic document.
    ●​ Exhibit A (right), however, displays irregular compression artifacts:
           ○​ Darker, inconsistent areas where official markings (like the crest) are expected.
           ○​ Anomalies in both header and footer regions, implying that some content might
               have been removed or modified.

 Such variations are strong indicators of deliberate digital alterations.

 Additional Indicators of Document Manipulation
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 Beyond spectral and ELA findings, several other suspicious patterns and elements reinforce the
 conclusion of systematic document tampering:

    1.​ Suspicious Patterns:
           ○​ An unusually high concentration of images on certain pages (e.g., 20 images on
               page 1 and 10 on page 2) is atypical for standard PDF documents.
           ○​ Irregular distribution of images across pages suggests potential use of overlays or
               other masking techniques to alter original content. (See Exhibit D, a complete
               forensic summary)
    2.​ Suspicious Elements:
           ○​ All pages contain text standardized to an identical length (37 characters), hinting
               at artificial manipulation.
           ○​ The presence of very small images (e.g., 16×20 or 24×16 pixels) is not typical in
               genuine documents.
           ○​ A consistent base resolution (1275×1650) across images points to the use of a
               template.
           ○​ Large overlays on later pages indicate possible complete page replacements.
    3.​ Document Manipulation Indicators:
           ○​ Extreme variation in Laplacian values implies multiple rounds of compression,
               suggesting the document was edited several times.
           ○​ Inconsistent image quality on the same page, along with signs of content masking
               or replacement, further supports the likelihood of tampering.
    4.​ Hidden Content and Compression History:
           ○​ Least Significant Bit (LSB) analysis shows unusual bit patterns and discrepancies
               in the zero/one ratios, which could be indicative of steganographic content or
               other digital manipulation artifacts.
           ○​ The evidence of multiple compression levels hints at images coming from
               different sources or being edited during several sessions.
    5.​ Content Removal and Replacement:
           ○​ Cleanup Phase: The appearance of small images (e.g., 16×20, 24×16, 32×16
               pixels) is typical of tools used to erase or mask content, coupled with mid-range
               compression artifacts.
           ○​ Major Replacement: Large overlays (sizes such as 1776×2916 and 1776×2848)
               suggest complete page replacements—most notably on pages 6 and 7. These
               pages show the highest compression artifacts, and the standardized text length
               across pages reinforces the likelihood of deliberate manipulation.

 The combined evidence from spectral inconsistencies and irregular error level artifacts strongly
 indicates deliberate digital manipulation. The modifications are particularly evident in areas
 where official markings would typically be present. Overall, these findings provide compelling
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 support for the conclusion that the original document was systematically altered through multiple
 editing processes, overlay techniques, and content replacement strategies.

 In the context of digital forensic analysis, a hybrid document refers to a file that has been
 partially altered or fabricated, combining both authentic and manipulated elements in a way that
 obscures its true origins and integrity. These documents are often modified using advanced
 digital editing tools, allowing falsified content—such as altered text, missing or replaced images,
 or digitally added elements—to blend seamlessly with legitimate components. This method is
 commonly employed to create deceptive yet convincing forgeries, making detection difficult
 without forensic examination. In this case, forensic analysis of Exhibit A (Mello) PDF has
 revealed indicators of hybrid manipulation, strongly suggesting that the document has been
 digitally altered to misrepresent or conceal critical information.

 Furthermore, Plaintiffs present additional evidence regarding discrepancies in the property forms
 produced in response to the APRA requests. Two APRA-requested property forms were
 originally scanned and created on a Konica Minolta 808 scanner by Captain Robertson.
 However, the third APRA response—consisting of only page 1 of the discovery document
 labeled Exhibit A (Mello)— was not scanned but was instead directly created as a PDF from an
 HP 1998 computer.

 Additionally, the Exhibit A (Mello)PDF, provided to the Plaintiffs during discovery, originates
 from the same police department but was digitally created for the first time on November 18,
 2024 using a Konica Minolta C458 scanner, which does not match the original Konica Minolta
 808 used for the other forms or the HP Computer. Nevermind that the Property Tracking form,
 and the creation date of the PDF was on November 18, 2024 when this evidence originates being
 in the custody of the Cranston Police Department since October 21, 2021.

 The Mello property form presents multiple inconsistencies. This type of form is traditionally a
 carbon sheet that should not be typed on directly, yet Mello's form appears to contain both typed
 text on the actual form and handwritten entries. Moreover, the official crest, which Captain
 Robertson confirmed should appear faint, is entirely missing from this document, which was
 later confirmed in an email and in person on February 3, 2025. These irregularities raise serious
 concerns about the authenticity and integrity of the evidence presented. As stated in the previous
 hearing, these documents need to be viewed in the digital format, something the Plaintiffs were
 unable to do during the hearings for several motions on January 24, 2025. Previously when the
 Plaintiffs had a discovery conference it was done via zoom with the ability to screen share and
 discuss the documents. That was not the case with this court date. Without the ability to show the
 digital file, the Plaintiffs were handicapped unable to fully argue and present the information to
 the courts.

 The Court Erred in Misapplying Heck v. Humphrey and Overlooking Actionable Police
 Misconduct Claims
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 It is well-established that police misconduct, including falsification of evidence and tampering
 with records, is actionable under 42 U.S.C. § 1983, even if a conviction remains intact. Courts
 have consistently ruled that such misconduct constitutes a separate constitutional violation,
 independent of the validity of the conviction itself.

 Case Law Supporting This Argument:

    ●​ McDonough v. Smith, 588 U.S. 8 (2019): The Supreme Court held that a fabricated
       evidence claim is not automatically Heck-barred, as the harm caused by police
       misconduct is distinct from the conviction.
    ●​ Whitmore v. Harrington, 204 F.3d 784 (8th Cir. 2000): The court ruled that falsification
       of evidence constitutes a due process violation and is actionable under § 1983, even if the
       conviction remains valid.
    ●​ Taylor v. Meacham, 82 F.3d 1556 (10th Cir. 1996): Established that claims of illegal
       police conduct do not necessarily imply the invalidity of a conviction, and therefore, are
       not barred by Heck.
    ●​ Nelson v. Campbell, 541 U.S. 637 (2004): The Supreme Court clarified that Heck only
       bars § 1983 claims if success in the civil suit would necessarily invalidate the conviction.

 In contrast, Heck v. Humphrey, 512 U.S. 477 (1994), only applies when a § 1983 claim would
 require overturning the underlying conviction to succeed. Here, that is not the case. The claims
 regarding discovery misconduct, document tampering, and evidence spoliation do not challenge
 the conviction itself but instead raise serious due process concerns.

 The Court’s Failure to Recognize Due Process Violations Under Brady v. Maryland

 The court erroneously assumed that the document tampering and spoliation issues were only
 relevant to the PCR case. However, these claims are distinct constitutional violations under
 Brady v. Maryland, 373 U.S. 83 (1963), which requires the disclosure of exculpatory and
 material evidence. The court failed to address the implications of altered and destroyed evidence
 as part of police misconduct, which is a recognized due process violation.

 Additionally, police misconduct extends beyond excessive force and includes fabrication of
 evidence, obstruction of justice, and fraudulent concealment of material evidence. The failure to
 acknowledge these violations is a misapplication of Heck v. Humphrey and deprives the
 Plaintiffs of their constitutional protections.

 Requests for Reconsideration:

    1.​ Recognize that the claims of discovery misconduct, new evidence about the document
        tampering, and fraud are not Heck-barred because they do not directly challenge the
        validity of the conviction.
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    2.​ Address the Defendants’ fraudulent and deceptive conduct in discovery as an
        independent due process violation.
    3.​ Reconsider the wrongful dismissal of the document tampering claim and permit an
        independent forensic analysis to determine the extent of evidence manipulation.
            ○​ If necessary, the court should appoint an independent forensic expert or allow
               Plaintiff to obtain one at Defendants’ expense to ensure an impartial investigation
               into the altered hybrid documents.

 The court’s failure to acknowledge police misconduct, discovery violations, and fraudulent
 evidence tampering constitutes a fundamental misapplication of governing case law. The
 Plaintiff respectfully requests reconsideration of these claims and an opportunity to present new
 evidence to substantiate the allegations of document tampering and fraud.

 Pattern of Misconduct and Tampering Undermines the Integrity of This Case

 This federal civil rights lawsuit primarily concerns police misconduct and the use of excessive
 force. However, a persistent issue remains: Defendants’ counsel, Julia Scott-Benivedes and the
 court continually overlook the documented misconduct that forms a critical part of our
 complaint.

 During discovery, we obtained clear evidence from Attorney Scott-Benivedes further
 substantiating our claims of police misconduct within the Cranston Police Department and
 among the officers involved. Despite this, these serious violations remain overlooked and
 intentionally unaddressed.

 One of the most egregious examples being contested at the moment, is the tampered/hybrid
 document at the center of this motion, which raises serious due process concerns. In addition to
 this, we uncovered multiple instances of misconduct during discovery, including:

    ●​ Officer Rocchio’s Email Admission – Discovery produced emails in which Officer
       Rocchio admitted he never informed Mello that he was subject to a no-trespass order.
       Yet, four months later, Mello was arrested based on these same no-trespass
       orders—despite the fact that both the Cranston Police Department (CPD) and the
       Cranston Law Department knew Mello had never been formally served.
    ●​ Leaked and Altered Police Report – A PDF file from Officers Rocchio's email to Officer
       Arruda, which was obtained during discovery, matches exactly the version leaked to
       WPRI, an unapproved police report. When the report was finalized two days after the
       leak, it was altered and Officer Rocchio’s statement that he went to the cell block to
       notify Mello of the two no trespass orders was removed even after the unapproved report
       was notated with “NFTR” meaning nothing further to report.
    ●​ Destruction of Mello’s Property in Violation of Cranston Police Department Policy –
       Discovery also revealed a Cranston Property Form documenting the confiscation of
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        Mello’s work tools/knives at the time of the incident. This form confirms that the
        evidence was destroyed, which is a direct violation of Cranston Police Department
        policies and procedures. At the time of destruction, Mello had an active appeals case in
        superior court, which should have prevented the destruction of any evidence.
        Nonetheless, CPD unlawfully destroyed it.

 These actions collectively reinforce our claims of widespread police misconduct, procedural
 violations, and bad faith handling of evidence.

 We have acted in good faith by repeatedly bringing these serious issues to the attention of
 Defendants' counsel, yet they continue to go unaddressed and ignored. The court must not allow
 this pattern of misconduct, which is intertwined and part of this Federal Civil Rights lawsuit, to
 be overlooked, particularly the document (hybrid) tampering at the center of this motion, which
 raises fundamental due process and evidentiary integrity concerns.

 UNFAIRNESS IN THE HEARING PROCESS PREVENTED A FULL AND FAIR
 OPPORTUNITY TO PRESENT ARGUMENTS

 The court’s decision to consolidate four separate motions into a single hearing placed an undue
 burden on the pro se Plaintiffs, effectively preventing a full and fair opportunity to present their
 arguments. Unlike represented litigants, pro se plaintiffs do not have the benefit of legal counsel
 to navigate multiple complex legal arguments simultaneously, making the court’s approach
 particularly prejudicial in this case.

 A. The Consolidation of Four Motions Created an Undue Burden

 Federal courts have recognized that pro se litigants are entitled to procedural fairness and must
 not be placed at a distinct disadvantage due to their lack of legal representation. By forcing
 Plaintiffs to argue four separate motions in a single hearing, the court effectively:

    1.​ Overwhelmed the pro se Plaintiffs, limiting their ability to effectively address each
        motion.
    2.​ Rushed the proceedings, failing to provide adequate time for argument on each
        substantive issue.
    3.​ Impaired the Plaintiffs’ ability to respond to Defendants’ counterarguments, as time
        constraints did not allow for thorough rebuttals.

 It is well established that pro se litigants must be afforded a meaningful opportunity to be heard.
 See Gomez v. USAA Fed. Sav. Bank, 171 F.3d 794, 795 (2d Cir. 1999) (noting that courts must
 take special care in ensuring that pro se litigants are not unfairly disadvantaged by procedural
 rulings). The failure to provide adequate time to address four separate legal issues in one hearing
 deprived Plaintiffs of their right to fully advocate for their claims.
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 B. Rushed Proceedings Prevented Proper Consideration of Material Issues

 The hearing was not structured in a manner that allowed the Plaintiffs to properly articulate and
 defend the arguments set forth in their motions. The sheer volume of legal and factual issues
 requiring attention, including constitutional claims, discovery misconduct, and due process
 violations, necessitated a more thorough and deliberate hearing process.

 By rushing the proceedings, the court:

    1.​ Prevented a complete factual record from being presented—critical evidence,
        including forensic findings, using the digital version of the documents, to provide the
        courts with the findings.
    2.​ Cut short necessary legal arguments, particularly those related to due process violations,
        fraud on the court, and spoliation of evidence.
    3.​ Failed to ensure that pro se Plaintiffs had an opportunity to clarify or respond to questions
        from the court, as would typically be afforded to represented litigants.

 In Mathews v. Eldridge, 424 U.S. 319 (1976), the Supreme Court established that due process
 requires a full and fair hearing where litigants have an opportunity to present their case and
 respond to opposing arguments. The rushed nature of these proceedings fell below the
 fundamental fairness required by due process and compromised Plaintiffs’ ability to have their
 motions properly heard and adjudicated.

 C. Pro Se Plaintiffs Must Be Afforded Procedural Fairness

 Courts have recognized that pro se litigants require additional procedural safeguards to ensure
 fairness in judicial proceedings. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972) (holding that
 courts must construe pro se filings liberally and ensure fair proceedings).

 Given the complexity of the legal and factual issues at stake, Plaintiffs should have been granted:

    ●​ Separate hearings for each motion to allow proper presentation and argument.
    ●​ Sufficient time to argue each motion fully, rather than being rushed through multiple
       arguments in a single session.
    ●​ The ability to adequately respond to the court’s and Defendants’ questions without being
       constrained by an unfairly condensed timeframe.

 The court’s failure to afford these procedural safeguards constitutes clear error and requires
 reconsideration under Rule 59(e) to ensure that Plaintiffs’ constitutional and statutory claims
 receive the fair adjudication they deserve.

 RELIEF REQUESTED
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 Plaintiffs respectfully request that the Court:


    1.​ Order Defendants to produce and present the original signed and an unaltered document

        from October 21, 2021. Any related documents that would clarify its authenticity. Also

        who created the document at the Cranston Police Station and sent it over to Juila

        Scott-Benevides.

    2.​ Plaintiff's request a Court Appointed independent digital forensics expert to review the

        documents at the Defendants expense.

    3.​ Grant reconsideration under Rule 59(e) based on newly discovered evidence and

        legal/factual errors.

    4.​ Address the overlooked legal claims, including fraud on the court, spoliation, and due

        process violations.


 WHEREFORE, Plaintiff prays that the Court amend its prior ruling, correct legal errors, and

 ensure a full and fair adjudication of the claims.


 Respectfully submitted,

 /s/ Joshua Mello​
 /s/ Rachel Ware​
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 CERTIFICATION

 I certify that a true and accurate copy of the within was e-filed, on the 12th day of February
 2025:

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